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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
HENRY G. HOBBS, JR.
ACTING UNITED STATES TRUSTEE
REGION 7, SOUTHERN and WESTERN DISTRICTS OF TEXAS
HECTOR DURAN
TRIAL ATTORNEY
515 Rusk, Suite 3516
Houston, Texas 77002
Telephone: (713) 718-4650 x 241
Fax: (713) 718-4670
                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                           §       CASE NO.
                                                 §
SOUTHERN FOODS GROUP, LLC,                       §       19-36313 (DRJ)
et al.,                                          §       (Chapter 11)
                                                 §       Jointly Administered
        DEBTORS 1                                §

                            NOTICE OF APPOINTMENT OF
                         COMMITTEE OF UNSECURED CREDITORS

TO THE HONORABLE DAVID R. JONES
UNITED STATES BANKRUPTCY JUDGE:


1
  The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean
Foods Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade
Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144);
Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192);
Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504);
Dean Holding Company (8390); Dean Intellectual Property Services II, Inc. (3512); Dean International
Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean
Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC
(8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC
(4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh
Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing and
Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream
Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of
Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas,
TX 75204.
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       COMES NOW Henry G. Hobbs, Jr., the Acting United States Trustee for Region 7, who
pursuant to 11 U.S.C. § 1102(a)(1) hereby appoints the following eligible creditors to the
Committee of Unsecured Creditors in this case:

                  Members                                      Counsel for Member
 1. Central States, Southeast and Southwest Areas   Central States, Southeast and Southwest
    Areas Pension Funds                             Areas Pension Fund
    Brad R. Berliner Deputy General Counsel         Andrew J. Herink, Assoc. Gen. Counsel
    8647 W. Higgins Rd., 8th Floor                  8647 W. Higgins Rd., 8th Floor
    Chicago, IL 60631                               Chicago, IL 60631
    Tel. 847-939-2478                               Tel. 847-939-2458
    Fax 847-518-9797                                Fax 847-518-9797
    E-Mail: bberliner@centralstates.org             E-Mail: aherink@centralstates.org


 2. The Bank of New York Mellon Trust               Emmet, Marvin & Martin, LLP
    Company, N.A.                                   Thomas A. Pitta, Esq.
    Attn: Alison Kowalski                           120 Broadway, 32nd Floor
    240 Greenwich Street, 7th Floor                 New York, NY 10271
    New York, NY 10286                              Tel. 212-238-3148
    Tel. 212-815-4066                               E-Mail: tpitta@emmetmarvin.com
    E-Mail: alison.kowalski@bnymellon.com


 3. Pension Benefit Guaranty Corporation            Pension Benefit Guaranty Corporation
    Attn: Thomas Taylor                             C. Wayne Owen, Jr., Esq.
    Corporate Finance and Restructuring Dept.       Ralph L. Landy, Esq.
    1200 K Street N.W.                              Office of the General Counsel
    Washington, D.C. 20005-4026                     1200 K Street N.W.
    Tel. 202-229-3303                               Washington, D.C. 20005-4026
    Fax 202-326-4114                                Tel. 202-229-3090
    E-Mail: taylor.thomas@pbgc.gov                  Fax 202-326-4112
                                                    E-Mail: landy.ralph@pbgc.gov
 4. Land O’Lakes, Inc.                              K & L Gates LLP
    Attn: Bill Pieper                               Beth Gilman, Esq.
    4001 Lexington Avenue N.                        1000 Main Street, Suite 2550
    Arden Hills, MN 55126-2998                      Houston, TX 77002
    Tel. 800-328-9680                               Tel. 713-815-7327
    E-Mail: wtpieper@landolakes.com                 Fax 713-815-7301
                                                    E-Mail: beth.gilman@klgates.com




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 5. California Dairies Inc.
    Attn: Ray Gutierrez
    2000 N. Plaza Drive
    Visalia, CA 93291
    Tel. 925-361-4434
    Fax 925-551-8544
    E-Mail: rgutierrez@californiadairies.com

 6. Consolidated Container Company LP               Alston & Bird
    Attn: Patrick Lynch                             David Wender, Esq.
    2500 Windy Ridge Parkway, Suite 1400            One Atlantic Center
    Atlanta, GA 30339                               1201 Peachtree St., Suite 4900
    Tel. 678-742-4735                               Atlanta, GA 30309
    E-Mail: patrick.lynch@cccllc.com                Tel. 404-881-7354
                                                    Fax 404-881-7000
                                                    E-Mail: david.wender@alston.com
 7. Select Milk Producers, Inc.                     Jackson Walker LLP
    Attn: Rance C. Miles                            Matthew Cavenaugh, Esq.
    5151 Beltline Rd., Suite 455                    1401 McKinney, Suite 1900
    Dallas, TX 75254                                Houston, TX 77010
    Tel. 214-568-9000 ext. 211                      Tel. 713-752-4284
    E-Mail: rancem@selectmilk.com                   E-Mail: mcavenaugh@jw.com



Dated: November 22, 2019                   Respectfully Submitted,

                                           HENRY G. HOBBS, JR.
                                           ACTING UNITED STATES TRUSTEE
                                           REGION 7, SOUTHERN and WESTERN
                                           DISTRICTS OF TEXAS

                                           By:    /s/ Hector Duran
                                                  Hector Duran
                                                  Trial Attorney
                                                  Texas Bar No. 00783996
                                                  515 Rusk, Suite 3516
                                                  Houston, TX 77002
                                                  Telephone: (713) 718-4650 x 241
                                                  Fax: (713) 718-4670
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by electronic means
on all PACER participants on this 22nd day of November, 2019.

                                              /s/ Hector Duran
                                              Hector Duran, Trial Attorney




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